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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION



MAXRELIEF USA, INC.,                            )
                                                )
                       Plaintiff,               )
                                                )
v.                                              )
                                                    CIVIL ACTION NO.
                                                )
                                                    5:22-CV-00270-LCB
FULFYLD, LLC, KHANITECH, LLC,                   )
and AJESH KHANIJIW                              )
                                                )
                       Defendant.


     PLAINTIFF MAXRELIEF, USA, INC.’S RESPONSE TO KHANITECH,
                   LLC’S MOTION TO DISMISS
          Plaintiff MaxRelief USA, Inc. (“MaxRelief” or “Plaintiff”), by and through

undersigned counsel, files this Response to Defendant Khanitech, LLC’s

(“Khanitech”) Motion to Dismiss (Doc. 66), and in support states as follows:

              I.   BACKGROUND

          MaxRelief is a manufacturer and distributor of health-oriented products. Doc.

64 p. 1 ¶ 1. Defendant Fulfyld, LLC (“Fulfyld”) is a warehousing company from

whom MaxRelief receives warehousing services. Id. ¶ 9. KhaniTech, LLC is the

company that owns the warehouses where Fulfyld provides its services to

MaxRelief. Id. ¶ 10. Ajeh Khanijow is the sole owner of and has total control over

both Fulfyld and KhaniTech. Id. ¶ 11. Beginning in October of 2021, MaxRelief

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discovered that some of its inventory that was supposed to be in Khanitech’s

warehouses had gone missing. Doc. 64 p. 6 ¶ 25. This issue created a dispute between

the Parties that lasted for several months. See generally id.

          On February 25, 2022, Mr. Khanijow told MaxRelief that MaxRelief owed

over $18,000 to Fulfyld. Id. ¶ 29. Mr. Kahnijow reported that until MaxRelief paid-

off that balance, it could not remove their goods from the warehouses and, if such

payments were not made within 30 days, that MaxRelief’s goods would be

confiscated. Id. ¶ 31–32. The total value of these goods was approximately $1

million. Id. ¶ 33. Eventually, MaxRelief was able to recover some of its inventory

from the warehouses. Doc. 64 p. 9 ¶ 39. However, approximately $100,000 worth of

products were missing. Id. ¶ 41.

          MaxRelief filed the original complaint on March 1, 2022 (see Doc. 1) and

timely filed the Amended Complaint on December 12, 2023. See id.; Doc. 15. The

claims in the Complaint stem from MaxRelief’s allegation that the aforementioned

approximately $100,000 worth of products did not simply vanish into thin-air, but

was instead misplaced, lost, or sold by Khanitech, Fulfyld, or Mr. Khanijow. See id.

¶ 44.

          Khanitech untimely filed its Motion to Dismiss on January 11, 2024, seeking

the dismissal of MaxRelief’s Counts IV (Negligence), V (Unjust Enrichment), VI




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(Conversion), and VII (Civil Conspiracy) on the alleged basis that such “claims fail

to allege a sufficient factual basis.” Doc. 66 p. 4.

              II.   STANDARD OF REVIEW

          A pleading does not have to include “detailed factual allegations” to survive.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Rather, to survive a motion to dismiss,

a plaintiff must simply “state a claim to relief that is plausible on its face.” Iqbal,

556 U.S. at 678 (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

A claim is facially plausible “when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678. When reviewing a motion to dismiss,

district courts “accept the allegations in the complaint as true and construe them in

the light most favorable to the plaintiff.” Hunt v. Aimco Properties, 814 F.3d 1213,

1221 (11th Cir. 2016).

          III.      ARGUMENT

          A.        MaxRelief Has Alleged Sufficient Facts to Support a Facially

Plausible Claim for Negligence (Count IV) under Alabama Law.

          To state a negligence claim under Alabama law, a plaintiff must allege facts

that plausibly show the defendant breached a duty owed to the plaintiff and that such

breach proximately caused them damages. McMahon v. Yamaha Motor Corp.,




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U.S.A., 95 So. 3d 769, 771 (Ala. 2012). Of these four elements—duty, breach,

causation, and damages—Khanitech only challenges the first two. Doc. 66 p. 4.

          A duty of care can arise from various sources. Bobo v. Tennessee Valley

Authority, 138 F. Supp. 3d 1285, 1307 (N.D. Ala. 2015)(applying Alabama law);

affirmed in part and reversed in part, Bobo v. Tennessee Valley Authority, 855 F.3d

1294, 41 I.E.R. Cas. (BNA) 1781 (11th Cir. 2017). Two such sources are relevant

here.

          The first source is general Tort Law principles. Those principles instruct that

“[i]n determining whether a duty exists . . . , courts should consider a number of

factors, including public policy, social considerations, and foreseeability.”

Smitherman v. McCafferty, 622 So.2d 322, 324 (Ala. 1993). Under Alabama law,

however, “[t]he key factor is whether the injury was foreseeable by the defendant.”

Taylor v. Smith, 892 So.2d 887, 892 (Ala. 2004) (quotation marks omitted).

          Second, a duty can be rooted in statute. See Lowe v. General Motors Corp.,

624 F.2d 1373 (5th Cir. 1980) (applying Alabama law) (“When a statute creates a

minimum standard of care, an unexcused violation—i.e., an act done with less than

the minimum care—must be negligence.”). Relevant to the present case, an Alabama

statute requires warehouses “to exercise care with regard to the goods that a

reasonably careful person would exercise under similar circumstances.” Davis

Constr. Supply, LLC v. Merchants Transfer Co., No. CV 21-0550-WS-M, 2023 WL


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3933074, at *2 (S.D. Ala. June 9, 2023) (quoting Ala. Code § 7-7-204(a)). The

statute defines a “warehouse” as “a person engaged in the business of storing goods

for hire.” Id. § 7-7-102(a)(13).

          The second element of negligence is breach. Satisfying this element requires

showing the defendant either did something that a reasonable person would not do

in a similar situation, or that the defendant failed to do something that a reasonable

person would have done in a similar situation. See APJI 28.01. A warehouse owner

breaches their duty of care by failing to exercise reasonable care in protecting the

goods entrusted to them. See Ala. Code § 7-7-204(a). The Alabama Supreme Court

has thus held a complaint that alleges a warehouse lost or otherwise disposed of a

plaintiff’s goods is sufficient to satisfy the “breach” element of a negligence claim

at the motion to dismiss stage. See Crigler v. Salac, 438 So. 2d 1375, 1382 (Ala.

1983) (“‘Where a bailee of goods for hire, upon demand made, fails to redeliver the

goods or does not account for a failure to make delivery . . . , prima facie negligence

will be imputed to him, and the burden of proving a loss without want of ordinary

care is devolved upon him.’”) (quoting Anniston Lincoln-Mercury v. Mayse, 341

So.2d 949, 950 (Ala. Civ. App. 1977)); see also Garrett v. Nelson & Affiliates, Inc.,

794 F. Supp. 2d 1253, 1262 (M.D. Ala. 2011) (holding that, under Alabama law,

existence of a bailment was a question of fact). Whereas the existence of a duty is




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determined by the judge, “[q]uestions regarding the breach of the duty of care are

generally for the jury.” Dale v. Kelly, 620 So. 2d 632, 634 (Ala. 1993).

          Whether this Court applies general Tort Law principles or the above-

described statute, it is clear that Khanitech owed MaxRelief a duty of care. The risk

that inventory stored in a warehouse will be misplaced, lost, or intentionally or

accidentally sold is unquestionably foreseeable. Furthermore, the people who store

inventory inside warehouses are the only people exposed to that risk. Therefore,

Khanitech owed MaxRelief a duty of care according to general Tort Law principles.

Moreover, MaxRelief’s allegations indicate that Khanitech is a “warehouse” under

Alabama law, see Doc. 64 ¶ 3, and that Khanitech, therefore, owed MaxRelief a

statutory duty “to exercise care with regard to the goods” entrusted to its possession.

See Ala. Code § 7-7-204(a). Either way, MaxRelief has alleged sufficient facts to

satisfy the duty element of its negligence claim.

          Likewise, MaxRelief has alleged sufficient facts to show Khanitech breached

that duty. MaxRelief specifically alleges that Khanitech is one of possibly multiple

Defendants who misplaced, lost, or sold MaxRelief’s goods without authorization.

See Doc. 64 p. 10, ¶ 44. This course of conduct was not reasonable under the

circumstances portrayed by the Complaint.

          Moreover, MaxRelief alleges it “was damaged as a result of Defendants’

actions, including but not limited to Defendants’ misplacement, loss, or


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unauthorized sale of MaxRelief’s goods.” Id. These allegations are sufficient to

allege the “causation” and “damages” elements.

          Accordingly, Khanitech’s Motion to Dismiss is due to be denied as it relates

to MaxRelief’s claim for negligence.

          B.    MaxRelief Has Alleged Sufficient Facts to Support a Facially

Plausible Claim for Unjust Enrichment (Count V) under Alabama Law.

          To state a claim for unjust enrichment under Alabama law, a plaintiff must

allege facts to plausibly show that: “(1) the defendant knowingly accepted and

retained a benefit, (2) provided by another, (3) who has a reasonable expectation of

compensation,” and (4) their retention of that benefit is “unjust.” See Matador

Holdings, Inc. v. HoPo Realty Invs., L.L.C., 77 So. 3d 139, 145 (Ala.

2011)(quotation and citation omitted). “‘Retention of a benefit is unjust if (1) the

donor of the benefit . . . acted under a mistake of fact or in misreliance on a right or

duty, or (2) the recipient of the benefit . . . engaged in some unconscionable conduct,

such as fraud, coercion, or abuse of a confidential relationship.’” Id. (cleaned up).

          MaxRelief has sufficiently alleged a facially plausible unjust enrichment

claim against Khanitech. MaxRelief alleges that Khanitech “knowingly retained a

benefit” by keeping, misplacing, losing, or selling without authorization

approximately $100,000 worth of its products. See Doc. 64 ¶¶ 41, 44. MaxRelief

“provided” Khanitech those products with a “reasonable expectation of


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compensation” when it entrusted them to Khanitech’s protection and control. See

Matador Holdings, 77 So. 3d at 145. And Khanitech has not—and, with any

sincerity, cannot—argue that it was not unjustly enriched if it did in fact sell

$100,000 worth of the products MaxRelief entrusted to it and kept the proceeds.

          Khanitech’s Motion to Dismiss challenges MaxRelief’s unjust enrichment

claim only on the second component of the first element (benefit retention), writing

“Plaintiff’s Unjust Enrichment claim is based on the unsupported allegation that

Khanitech was entrusted with Plaintiff’s goods and somehow received a benefit from

Fulfyld’s alleged disposal thereof.” See Doc. 66, p. 4. This argument misconstrues

the applicable pleading standard. MaxRelief is not required to “support” its

allegations at this stage. The allegations must only be facially plausible, see Iqbal,

556 U.S. at 678 (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)),

and the allegations supporting MaxRelief’s unjust enrichment claim have met that

bar.

          Moreover, Khanitech’s argument misrepresents MaxRelief’s allegations.

MaxRelief does not allege that Fulfyld acted alone when it disposed of MaxRelief’s

products. Instead, MaxRelief specifically alleges that all Defendants—including

Khanitech—misplaced, lost, or sold MaxRelief’s goods without authorization. See

Doc. 64 ¶ 44.




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          Accordingly, MaxRelief has sufficiently alleged a facially plausible unjust

enrichment claim against Khanitech. Khantitech’s Motion to Dismiss is thus due to

be denied as it relates to MaxRelief’s claim for unjust enrichment.

          C.    MaxRelief has Alleged Sufficient Facts to Support a Facially

Plausible Claim for Conversion (Count VI) under Alabama Law.

          To state a claim of conversion under Alabama law, a plaintiff must allege facts

plausibly showing: “(1) a wrongful taking; (2) an illegal assertion of ownership; (3)

an illegal use or misuse of another's property; or (4) a wrongful detention or

interference with another's property.” Drennen Land & Timber Co. v. Privett, 643

So. 2d 1347, 1349 (Ala. 1994)(citations omitted). Khanitech generally challenges

MaxRelief’s conversion claim, faulting MaxRelief for its “unexplained allegation

that Khanitech somehow converted Plaintiff’s property.” See Doc. 66 p. 4–5.

          It is difficult to understand this argument. MaxRelief alleges that Khanitech

misplaced, lost, sold without authorization, or otherwise refused to return

MaxRelief’s property to it even after MaxRelief demanded its return. See Doc. 64

¶¶ 25–44. That course of conduct is a prototypical example of conversion. See, e.g.,

RESTATEMENT (SECOND) OF TORTS § 222A (1965)(citing I.C.C. Metals, Inc. v.

Municipal Warehouse Co., , 409 N.E.2d 849 (N.Y. Ct. App. 1980)(upholding a

conversion claim against a warehouse by a customer who had paid the warehouse to

store indrium, a precious metal, reasoning “the plaintiff's proof of delivery of the


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indrium to the warehouse and its failure to return the property upon proper demand

sufficed to establish a prima facie case for conversion.”). Undoubtedly, MaxRelief’s

allegation that Khantitech sold MaxRelief’s property without authorization and has

retained the proceeds from those sales—a practice with which MaxRelief alleges to

have had direct experience with in the past1—constitutes conversion.

          For these reasons, Khantitech’s Motion to Dismiss Count VI is due to be

denied as it relates to MaxRelief’s claim for conversion.

          D.    MaxRelief has Alleged Sufficient Facts to Support a Facially

Plausible Claim for Civil Conspiracy (Count VII) under Alabama Law.

          MaxRelief alleges the “Defendants conspired to take the tortious actions

described herein together against MaxRelief.” Doc. 64 p. 14, ¶ 78.

          The only argument against this claim Khanitech makes in its Motion to

Dismiss is that “[MaxRelief] has failed to state sufficient facts to support [any of] its

underlying claims against Khanitech; therefore, its conspiracy claim also fails.” Doc.

66 p. 5. In the same vein, MaxRelief responds that if it has not failed to state

sufficient facts to support any of its underlying claims against Khanitech, then its

conspiracy claim is also sufficiently supported. Accordingly, because MaxRelief


1
        MaxRelief alleges that “Defendants had previously solicited MaxRelief to sell another
client’s stock for less than 50 percent of its value” at a time when Defendants believed that client
owed them money. Id. ¶ 34.




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stated sufficient facts to support all of its underlying claims against Khanitech for

the reasons given above, Khanitech’s Motion to Dismiss is due to be denied as it

relates to conspiracy. Count VII is due to be denied.

          E.    Khanitech’s Motion to Dismiss is Untimely.
          MaxRelief filed its original pleading on March 1, 2022. See Doc. 1. MaxRelief

served the Amended Complaint on December 12, 2023. See Doc. 66. Khanitech’s

response was due prior to January 11, 2024, when Khanitech filed its Motion to

Dismiss. See Fed. R. Civ. P. 12(a) and 15(a)(3). The Court did not extend

Khanitech’s deadline before it expired, Khanitech did not file a motion to extend its

deadline after it expired. Thus, this Motion is due to be denied for untimeliness. See

Skrtich, 280 F.3d at 1307 (affirming district court’s dismissal of Rule 12(b)(6)

motion to dismiss because it was untimely).

          IV.   CONCLUSION

          For the reasons given above, MaxRelief has sufficiently pleaded claims for

negligence, unjust enrichment, conversion, and conspiracy. Accordingly,

Khantitech’s Motion to Dismiss is due to be denied in its entirety.



Dated: February 1, 2024                   Respectfully submitted,

                                          /s/ Elena L. Bauer
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